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                                 UNITED STATES DISTRICT COURT
                                       Northern District of Illinois
                                       219 South Dearborn Street
                                         Chicago, Illinois 60604

Thomas G. Bruton                                                                   312-435-5670
Clerk



Date: 6/17/2020                                          Case Number: 15-CV-9323

Case Title: Breuder v. Board of Trustees of              Judge: Andrea R. Wood
            Community College District No. 502,

              DOCUMENT REMOVED DUE TO REASON(S) CHECKED BELOW

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